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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


THEODORE BELL,


                   Petitioner,

v.                                                         Case No. 2:11-cv-14604

STEVEN RIVARD,

                Respondent.
___________________________________/

                                    JUDGMENT

      In accordance with the November 2, 2020 Opinion and Order issued in this case,

      IT IS ORDERED AND ADJUDGED Judgment is entered against Petitioner

Theodore Bell and for Respondent Steven Rivard. Dated at Detroit, Michigan, this 2nd

day of November, 2020.



                                              DAVID J. WEAVER
                                              CLERK OF THE COURT


                                       BY:    _s.Lisa Wagner
                                              Deputy Clerk
                                              and Case Manager to
                                              Judge Robert H. Cleland
